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5
                           UNITED STATES DISTRICT COURT
6                         EASTERN DISTRICT OF WASHINGTON
7
8     UNITED STATES OF AMERICA,        )
                                       ) No. CR-07-003-LRS-1
9                       Plaintiff,     )
                                       ) ORDER GRANTING MOTION AND
10    v.                               ) SETTING STATUS HEARING
                                       )
11    CHRISTOPHER FAYDO,               )
                                       )
12                      Defendant.     )
                                       )
13                                     )
                                       )
14
15         At the   May 18, 2007, status hearing, Assistant U.S. Attorney

16   Timothy Durkin appeared for the United States.                    Defendant was

17   present with counsel John Nollette.

18         As Defendant has been fully complaint with conditions of

19   release, his oral Motion to modify by releasing Defendant from the

20   curfew requirement (Ct. Rec. 78) is GRANTED.                Defendant no longer

21   shall be under curfew.       All other conditions of release remain in

22   place.

23         A status conference is set for June 25, 2007, at 10:30 a.m.,

24   before the undersigned.

25         IT IS SO ORDERED.

26         DATED May 18, 2007.

27
28                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE

     ORDER GRANTING MOTION AND SETTING STATUS HEARING - 1
